      Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 1 of 15 PageID #: 818




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


     Emily Sousa,

                        Plaintiff,

            v.                                        Civil Action No. 21-717-SB

     Amazon.com, Inc., Amazon.com Services LLC,
     and Lawrence Dorsey,

                        Defendants.


                        REPLY BRIEF IN SUPPORT OF DEFENDANTS
                     AMAZON.COM, INC., AMAZON.COM SERVICES LLC,
                 AND LAWRENCE DORSEY’S MOTION TO DISMISS PLAINTIFF’S
                            SECOND AMENDED COMPLAINT

OF COUNSEL:                                       Beth Moskow-Schnoll (No. 2900)
Jason C. Schwartz (pro hac vice)                  Juliana van Hoeven (No. 6498)
GIBSON, DUNN & CRUTCHER LLP                       BALLARD SPAHR LLP
1050 Connecticut Avenue, N.W.                     919 N. Market Street, 11th Floor
Washington, DC 20036-5306                         Wilmington, DE 19801-3034
Tel.: 202-955-8242                                Tel.: 302-252-4465
Email: JSchwartz@gibsondunn.com                   Email: moskowb@ballardspahr.com
                                                          vanhoevenj@ballardspahr.com
Jessica Brown (pro hac vice)
Hannah Regan-Smith (pro hac vice)                 Attorneys for Defendants Amazon.com, Inc.,
GIBSON, DUNN & CRUTCHER LLP                       Amazon.com Services LLC, and Lawrence Dorsey
1801 California Street, Ste. 4200
Denver, CO 80202-2642
Tel.: 303-298-5700
Email: JBrown@gibsondunn.com
        HRegan-Smith@gibsondunn.com

Dated: April 11, 2022
     Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 2 of 15 PageID #: 819




                                                    TABLE OF CONTENTS

                                                                                                                                        Page

I.       ARGUMENT ..................................................................................................................... 2

         A.        Sousa Has Not Alleged Disparate Treatment .......................................................... 2

         B.        Sousa Fails to Allege But-For Cause Required by Section 1981 ............................ 5

         C.        Sousa Has Not Alleged a Hostile Work Environment ............................................ 5

         D.        Sousa Has Not Alleged Quid-Pro-Quo Harassment................................................ 7

         E.        Sousa Has Not Alleged She Was Retaliated Against .............................................. 8

         F.        The Court May Consider the Text Messages and Phone Call Logs Sousa
                   Relies On ................................................................................................................ 9

II.      CONCLUSION ................................................................................................................ 10




                                                                     i
  Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 3 of 15 PageID #: 820

                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

CASES

Bates v. Tandy Corp.,
   186 F. App’x 288 (3d Cir. 2006) ...............................................................................................4

Betz v. Temple Health Systems,
   659 F. App’x 137 (3d Cir. 2016) ...........................................................................................5, 6

Borrell v. Bloomsburg University,
   955 F. Supp. 2d 390 (M.D. Pa. 2013) ........................................................................................4

Bowlen v. Coloplast A/S,
   2019 WL 4597570 (W.D. Pa. Sept. 23, 2019) ...........................................................................6

Bryson v. Chicago State University,
   96 F.3d 912 (7th Cir. 1996) .......................................................................................................7

Burgess v. Dollar Tree Stores, Inc.,
   642 F. App’x 152 (3d Cir. 2016) ...............................................................................................1

Castleberry v. STI Group,
   863 F.3d 259 (3d Cir. 2017).......................................................................................................6

City of Pittsburgh v. W. Penn Power Co.,
    147 F.3d 256 (3d Cir. 1998).....................................................................................................10

Culler v. Secretary of U.S. Veterans Affairs,
   507 F. App’x 246 (3d Cir. 2012) ...............................................................................................1

Curry v. Devereux Foundation,
   541 F. Supp. 3d 555 (E.D. Pa. 2021) .........................................................................................4

de la Cruz v. NYC Human Resources Administration,
    82 F.3d 16 (2d Cir. 1996)...........................................................................................................3

Durham Life Ins. Co. v. Evans,
   166 F.3d 139 (3d Cir. 1999).......................................................................................................3

Gunnell v. Utah Valley State College,
   152 F.3d 1253 (10th Cir. 1998) .................................................................................................2

Harris v. N.Y. State Comptroller,
   2022 WL 814289 (S.D.N.Y. Mar. 17, 2022) ...........................................................................10

Hilt-Dyson v. City of Chicago,
    282 F.3d 456 (7th Cir. 2002) .....................................................................................................2




                                                                   ii
  Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 4 of 15 PageID #: 821

                                              TABLE OF AUTHORITIES
                                                    (continued)

                                                                                                                            Page(s)

Hudson v. Ralph Lauren Corp.,
   385 F. Supp. 3d 639 (N.D. Ill. 2019) .......................................................................................10

Jennings-Fowler v. City of Scranton,
   680 F. App’x 112 (3d Cir. 2017) ...........................................................................................1, 6

Kaplan v. Wings of Hope Residence, Inc.,
   2020 WL 616630 (E.D.N.Y. Feb. 7, 2020)..............................................................................10

Kohinchak v. U.S. Postmaster General,
   677 F. App’x 764 (3d Cir. 2017) ...............................................................................................6

Leibovitz v. N.Y.C. Transit Authority,
   252 F.3d 179 (2d Cir. 2001).......................................................................................................7

Lopez-Serrano v. Rockmore,
   132 F. Supp. 3d 390 (E.D.N.Y. 2015) .....................................................................................10

McKenna v. VCS Group LLC,
  2009 WL 3193879 (D. Conn. 2009) ..........................................................................................6

McLintock v. City of Philadelphia,
  504 F. Supp. 3d 411 (E.D. Pa. 2020) .........................................................................................4

Molchan v. Delmar Fire Department, Inc.,
   2020 WL 264142 (D. Del. Jan. 17, 2020)..................................................................................6

Randlett v. Shalala,
   118 F.3d 857 (1st Cir. 1997) ......................................................................................................8

Torre v. Casio, Inc.,
   42 F.3d 825 (3d Cir. 1994).........................................................................................................3

Tourtellotte v. Eli Lilly & Co.,
   636 F. App’x. 831 (3d Cir. 2016) ..............................................................................................7

Wilkerson v. New Media,
   522 F.3d 321 (3d Cir. 2008).......................................................................................................6




                                                                  iii
 Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 5 of 15 PageID #: 822




        Sousa’s Second Amended Complaint, D.I. 28 (“SAC”), should be dismissed, just like her

last one, because she has not, and cannot, plead factual allegations permitting a reasonable inference

that Defendants discriminated and retaliated against her. Her Opposition, D.I. 39 (“Opp.”), like her

SAC, is filled with conclusory and exaggerated characterizations of her factual allegations. But

Sousa’s own characterizations and conclusions are due no weight—she is only entitled to reasonable

inferences from her well-pleaded facts. Her insufficient pleading is also why—in stark contrast to

Defendants’ methodical, claim-by-claim, element-by-element analysis of her deficient claims—

Sousa again refuses to analyze her alleged facts under any clear theory, instead haphazardly lumping

together various claims and issues. See, e.g., Opp. 11, 15.

        It is also why Sousa incorrectly argues, at every turn, that it is inappropriate for the Court to

assess the sufficiency of her allegations prior to discovery. See Opp. 2–4, 11, 13, 17. But Courts

routinely dismiss employment harassment and discrimination claims on the pleadings where, as here,

the facts alleged do not rise to the requisite level. E.g., Culler v. Sec’y of U.S. Veterans Affairs, 507

F. App’x 246, 249–50 (3d Cir. 2012) (affirming judgment on the pleadings where facts alleged could

not support finding that the workplace “was permeated with discriminatory intimidation, ridicule,

and insult”) (quotation marks omitted); Jennings-Fowler v. City of Scranton, 680 F. App’x 112, 118

(3d Cir. 2017) (affirming dismissal of hostile workplace claim); Burgess v. Dollar Tree Stores, Inc.,

642 F. App’x 152, 155 (3d Cir. 2016) (same).

        Finally, a cursory review of the text messages and phone records incorporated by reference

in and integral to Sousa’s pleading reveals that even her insufficient allegations are flatly

contradicted by the records underlying them. Mot. 10, 15–16; see also infra at 9. While it is not

necessary for the Court to consider these records to dismiss Sousa’s pleading again, it is telling that

Sousa is so adamant that the Court not look at them. The thrust of Sousa’s case is that she was




                                                   1
 Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 6 of 15 PageID #: 823




discriminated against and harassed by Dorsey through a “barrage” of “lengthy and unsolicited”

personal phone calls and messages. SAC ¶ 8; see also, id. ¶¶ 50–51, 75–76, 81. These messages

and calls are integral to her claims. She refers to and quotes from them throughout her SAC. E.g.,

id. ¶¶ 50–51, 75–76, 81. And she relies on the exact records Defendants submitted in advancing her

claim that Amazon conducted a sham investigation and then retaliated. Id. ¶¶ 198–200, 204–207.

The Court should dismiss Sousa’s claims, again, and should do so with prejudice.

                                         I.     ARGUMENT

A.        Sousa Has Not Alleged Disparate Treatment

          1. No adverse action. As detailed in Defendants’ opening brief, Sousa still has not pleaded

an actionable adverse action. See Mot. 5–10. In the few instances where her scattershot opposition

addresses these arguments, it does little to contest them. First, Sousa argues that she can allege an

adverse action through unlawful harassment. Opp. 15. But none of the cases she cites hold that a

separate disparate treatment claim can be established through harassment. Gunnell v. Utah Valley

State Coll., 152 F.3d 1253 (10th Cir. 1998) (involving only a retaliation claim); Hilt-Dyson v. City

of Chicago, 282 F.3d 456 (7th Cir. 2002) (same). Moreover, as detailed infra at 5–6, Sousa has

failed to allege harassment so severe or pervasive that it could rise to the level of a tangible adverse

action.

          Second, Dorsey giving Sousa the proverbial “cold shoulder”—even if true (which the records

reveal it is not, see Mot. 10)—does not constitute an adverse action. Mot. 9–10 (collecting

authorities). Sousa offers no response to this (or any of the on-point authority supporting it).

          Third, Sousa has added no allegations that would alter the Court’s holding that her temporary

holiday assignment did not constitute an adverse action. See MTD Op. 5–6; Mot. 5–9. Sousa does

not contest that her holiday assignment caused no change in title, pay, or benefits. She also does not,

and cannot, contest that even after her holiday assignment (and had she not taken a leave of absence


                                                   2
 Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 7 of 15 PageID #: 824




from December 2020 until she resigned in July 2021), she would have been eligible for promotion

as anticipated in her offer letter. Mot. 6 (citing MTD Op. 5). Nor does she dispute that her holiday

assignment was very brief. In fact, Sousa does not even dispute that she voluntarily extended the

length of the temporary assignment. See Mot. 5–6 (citing Ex. B at 5–6; Ex. D at 2–3).

        Instead, she claims (again) that the temporary assignment constitutes an adverse action

because she had to perform manual duties and it “harm[ed] her prospects for promotion.” Opp. 16.

The Court already rejected these arguments. See MTD Op. 5. Moreover, Defendants detailed three

separate reasons why Sousa’s new allegations regarding the temporary assignment’s speculative

impact on her employment through a (days-long) decrease in opportunity for “feedback” are

irrelevant as a matter of law. Mot. 6–9. Sousa does not respond to any of these three arguments.

And the only authority she cites, see Opp. 16, is inapposite because, unlike Sousa’s brief

reassignment, those cases involved permanent transfers to less desirable positions.1

        With the writing on the wall, Sousa now claims—for the first time—that she suffered other

adverse actions, namely that she suffered a “[l]oss of promotion” in 2021. Opp. 16–17. But Sousa’s

SAC is clear that she voluntarily placed herself on medical leave in December 2020 and never

returned to work. SAC ¶¶ 184, 191, 214. It defies common sense that Sousa would be entitled to a

promotion when she failed to return to work—and she points to no legal authority to the contrary or

any factual allegation establishing such a right. Nor does Sousa’s SAC include any allegation that,

had she continued working, she was a strong performer deserving of a promotion.



 1
     See Torre v. Casio, Inc., 42 F.3d 825, 831 n.7 (3d Cir. 1994) (plaintiff permanently transferred
     to a “dead-end job” that had already “effectively been eliminated” such that he was
     immediately terminated); de la Cruz v. NYC Human Res. Admin., 82 F.3d 16, 21 (2d Cir. 1996)
     (plaintiff permanently transferred out of an “‘elite’” unit into a position in a unit with “less
     prestig[e] [and less] opportunity for professional growth”); Durham Life Ins. Co. v. Evans, 166
     F.3d 139, 153 (3d Cir. 1999) (plaintiff’s working conditions “significant[ly] disrupt[ed]”
     because employer removed files such that she was unable to make sales and earn commission).


                                                  3
 Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 8 of 15 PageID #: 825




        In short, Sousa’s allegations are nothing like the actionable “failure to promote” she relies

on in Curry v. Devereux Foundation, 541 F. Supp. 3d 555, 559 (E.D. Pa. 2021). There, the plaintiff

not only was actively working, but had formally applied and interviewed for two open positions and

was passed over. Id. But where (as here) an employee is not actively working or seeking a

promotion, there can be no prima facie case based on a purported “failure to promote.” See, e.g.,

Bates v. Tandy Corp., 186 F. App’x 288, 293 (3d Cir. 2006) (affirming dismissal of failure to

promote case under Rule 12(b)(6) because the plaintiffs had not “applied for” and had, in fact,

“declined . . . the first step in the application process” for a promotion); McLintock v. City of Phila.,

504 F. Supp. 3d 411, 423 (E.D. Pa. 2020) (“Defendants never refused to promote Plaintiff . . .

[rather,] she never applied for the position.”).2

        2. No Causation. Even if Sousa alleged an adverse action, she has not alleged that it was

undertaken “because of” her race, ethnicity, national origin, or sex. Her response—a single footnote,

Opp. 16 n.7, that relies entirely on Borrell v. Bloomsburg University, 955 F. Supp. 2d 390 (M.D. Pa.

2013)—widely misses the mark. Borrell makes clear that purported comparators must be shown to

be “alike in all relevant aspects.” Id. at 405 (plaintiff met this burden when he alleged that

comparator was not only also a student but also known to have substance abuse problems) (quotation

marks omitted; emphasis added). That is exactly what Sousa fails to do here. See Mot. 10–11. In

fact—and contradicting her conclusory assertion that it was “obvious” Dorsey “did not treat male

employees in a similar fashion,” Opp. 16 n.7 (quotation marks omitted)—Sousa’s own allegations

reveal she and a male employee were selected for the holiday reassignment. See Mot. 11; SAC




 2
     Sousa’s argument that Amazon failed to promote her in November 2020 when it allegedly
     offered a transfer and promotion to another employee, Opp. 15, fails because Sousa does not
     allege that she applied for or expressed any interest in that position or asked for a raise or
     promotion. (Nor does she allege that she was more qualified for any such alleged promotion.)


                                                    4
 Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 9 of 15 PageID #: 826




¶ 151.

B.       Sousa Fails to Allege But-For Cause Required by Section 1981

         The gravamen of Sousa’s complaint is sex discrimination.          She claims that “Dorsey

habitually made sexual advances toward women he managed” and “obviously targeted [Sousa] as a

woman on the basis of her sex/gender, and he engaged in such acts towards various female

subordinates.” Opp. 5, 10. This precludes an inference of causation under § 1981. Mot. 11–12

(collecting authorities). Sousa attempts to distinguish her case from the others because she brings

claims not only under § 1981 but also under Title VII. Opp. 10. That only weakens her position.

Sousa’s Title VII claims are that adverse actions were taken “because of” her sex and national origin.

Moreover, aside from conclusory and editorialized statements not entitled to a presumption of truth,

e.g., SAC ¶ 84 (“Prompted by an apparent desire to discuss her Japanese heritage, Dorsey told

Ms. Sousa that he likes anime[.]”), Sousa has not added any allegations to those this Court previously

found failed to state a § 1981 race-based discrimination claim. See MTD Op. 7, 11.

C.       Sousa Has Not Alleged a Hostile Work Environment

         Just as with her FAC, Sousa’s SAC alleges a handful of innocuous conversations with Dorsey

that do not demonstrate a workplace “permeated with discriminatory intimidation, ridicule, and

insult” at either a “severe” or “pervasive” level. Betz v. Temple Health Sys., 659 F. App’x 137, 142

(3d Cir. 2016) (quotation marks omitted); see also Mot. 12–13 (no alleged “‘severe’” or “‘objectively

lewd’” conduct); id. 14 (no alleged “‘pervasive’” misconduct).

         Tellingly, Sousa’s opposition points to no new factual allegations as curing the deficiencies

in her last pleading. Nor could she. The only new assertions—e.g., that Dorsey asked where she

went to college and asked her to show him around the campus sometime—are just as benign as those

that failed before. Instead, Sousa again argues that the pleading standard permits her to work in

“approximations” and that assessing the severity or pervasiveness of her allegations, without


                                                  5
Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 10 of 15 PageID #: 827




“document discovery” and testimony, is inappropriate. Opp. 3, 10–11, 13.

        This Court already rejected these same arguments when it dismissed Sousa’s hostile work

environment claim just a few months ago. See MTD Op. 7–8 (Sousa’s “alleg[ations] do[] not amount

to severe or pervasive discrimination”). That result is consistent with courts across this Circuit,

which routinely dismiss sex-based hostile workplace claims on the pleadings where the facts do not

meet the “severe or pervasive” standard. E.g., Betz, 659 F. App’x at 142; Jennings-Fowler, 680 F.

App’x at 118; Kohinchak v. U.S. Postmaster Gen., 677 F. App’x 764, 767–68 (3d Cir. 2017);

Molchan v. Delmar Fire Dep’t, Inc., 2020 WL 264142, at *4 (D. Del. Jan. 17, 2020); see also

McKenna v. VCS Grp. LLC, 2009 WL 3193879, at *5 (D. Conn. Sept. 30, 2009).3 And it makes

good sense: to the extent Sousa was subjected to a hostile workplace, she would have personal

knowledge of all the facts and circumstances supporting that claim. She does not need the benefit

of document discovery or testimony to plead the facts needed to state a sexual harassment claim.

        Sousa’s few cited cases, see Opp. 10–11, 13, do not hold otherwise. In fact, most do not

involve hostile work environment claims at all. See, e.g., Bowlen v. Coloplast A/S, 2019 WL

4597570, at *2 (W.D. Pa. Sept. 23, 2019) (products liability); Wilkerson v. New Media, 522 F.3d

321 (3d Cir. 2008) (Title VII retaliation). And the one case that does, Castleberry v. STI Group,

unremarkably states that a plaintiff can survive a motion to dismiss where—unlike here—she alleges

the claim’s “requisite prima facie elements,” including severe or pervasive conduct. 863 F.3d 259,

265–66 (3d Cir. 2017).4



 3
     Sousa inaccurately claims that “nearly every case Defendants rely upon” was decided on a
     summary judgment basis. Opp. 12. She simply ignores the (many) cases cited across
     Defendants’ briefing that were decided at the pleading stage.
 4
     Sousa argues the Court can also consider her allegations regarding incidents not directed
     towards her. Opp. 11. But in doing so she cites only to out-of-circuit authority. Id. And she
     does nothing to counter the fact that those alleged incidents—even if inappropriate—are a “far



                                                 6
Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 11 of 15 PageID #: 828




D.      Sousa Has Not Alleged Quid-Pro-Quo Harassment

        Sousa likewise has failed to plead quid-pro-quo harassment. No new facts are identified in

her opposition that would cure the deficiencies that led the Court to dismiss this same claim in

December.5 Instead, Sousa argues that she does not need to allege Dorsey made “‘sexual demands’”

to plead a viable claim. Opp. 11. But that position is flatly inconsistent both with this Court’s prior

opinion, see MTD Op. 9 (assessing which allegations arguably amount to a “sexual demand”), and

Sousa’s own case law, see Bryson v. Chicago State Univ., 96 F.3d 912, 915 (7th Cir. 1996) (quid-

pro-quo harassment occurs where “submission to sexual demands is made a condition of tangible

employment benefits”). Sousa’s attempts to recharacterize the facts alleged as requests by Dorsey

to spend “private, romantic time” with her, Opp. 11, are due no weight. Dorsey’s alleged statements

amount to nothing more than requests to “hang out,” and are not the type of sexual demand or “quid”

required to create a sexual harassment claim. Mot. 17–18.

        Sousa also has not alleged any adverse action taken against her. Supra at 2–4. Nor has she

alleged when she allegedly rejected Dorsey’s alleged requests to “hang out,” such that any purported

resulting adverse action could be causally tied to those rejections. Mot. 18.


     cry from the kind of repeat misconduct that alters the conditions of employment and creates an
     abusive working environment.” MTD Op. 8 (alterations and quotation marks omitted); see
     also Mot. 16–17.
     Nor can Sousa’s claim rely on incidents or statements she did not personally experience, e.g.,
     SAC ¶¶ 10 (“Sousa learned that Dorsey had a reputation for flirting with women in the
     workplace.”), 193 (Sousa “later learned” about alleged statements by Dorsey); see also id.
     ¶¶ 16, 91, 96 (similar). “Title VII’s prohibition against hostile work environment
     discrimination affords no claim to a person who experiences it by hearsay.” Leibovitz v. N.Y.C.
     Transit Auth., 252 F.3d 179, 182 (2d Cir. 2001); see also Tourtellotte v. Eli Lilly & Co., 636
     F. App’x 831, 847 (3d Cir. 2016) (rejecting plaintiff’s argument that “citing the grievances of
     others and asserting that these contributed to a hostile work environment is sufficient to
     establish a prima facie case”).
 5
     Sousa falsely asserts that she has now alleged Dorsey asked whether she was “available” before
     her holiday assignment. Opp. 11. Nowhere in her SAC does Sousa make this allegation—and
     she offers no citation at all. See id.


                                                  7
Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 12 of 15 PageID #: 829




       Instead, Sousa reverts to her argument that it would be inappropriate for the Court to resolve

this claim on the pleadings. Opp. 11–12 (arguing it is “‘difficult’” to articulate her claim without

“document discovery” and testimony). The Court should reject this argument, just like it did in

December. See MTD Op. 8–9. Sousa would have personal knowledge of, and does not need

discovery to plead facts supporting, any purported “quid” (sexual demand) or “quo” (adverse action).

E.     Sousa Has Not Alleged She Was Retaliated Against

       First, Sousa does not address and apparently concedes that her reassignment from

Harleysville to New Castle when she was rehired did not constitute retaliation. See Mot. 19.

       Second, her temporary holiday assignment does not create a viable claim for retaliation. The

holiday assignment was not an adverse action. Supra at 2–3. And, even if Sousa’s purported

“rebuffing” of Dorsey could constitute protected activity, she has not proffered any facts supporting

a reasonable inference that she was selected for the holiday assignment as a result. To the contrary,

she was reassigned along with a male employee. Supra at 5. Nor does Sousa’s “cold shoulder”

allegation create an adverse action. See supra at 2.

       Third, Sousa’s allegation that Amazon adhered to a policy that required Sousa to return from

medical leave before requesting a transfer does not constitute retaliation. See SAC ¶¶ 206–07, 212.

Refusing to transfer an employee is not an adverse action unless the employee was entitled to the

transfer. Defs.’ Mot. to Dismiss First Am. Compl., D.I. 17, at 20 (collecting cases). While Sousa

asserts this is “false,” Opp. 17, her lone cited authority proves Defendants right. See Randlett v.

Shalala, 118 F.3d 857, 862 (1st Cir. 1997) (denial of hardship transfer request may qualify as adverse

action only because such “hardship transfer” was a “common” practice for the employer and

therefore arguably a “privilege of [plaintiff’s] employment”) (quotation marks omitted). Here, Sousa




                                                  8
Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 13 of 15 PageID #: 830




has not alleged that she had any right to a unilateral transfer.6 Nor has Sousa alleged any new facts

supporting that her subsequent resignation was a constructive discharge. As the Court already

explained, “working in the same facility as Dorsey” before the request was considered does not

amount to “intolerable” conditions required for a constructive discharge. See MTD Op. 10–11.

F.       The Court May Consider the Text Messages and Phone Call Logs Sousa Relies On

         Finally, Sousa is perturbed that the text message and phone call records underlying her claims

and allegations in this lawsuit are now in the record. She is worried about that for good reason:

those records directly contradict the allegations in her complaint. By way of example only, they:

        Reveal that Sousa voluntarily chose to extend the temporary holiday assignment she now
         claims is an adverse action, Mot. 5–6;
        Show Dorsey never gave her the proverbial “cold shoulder” by refusing to respond to her
         work-related messages, Mot. 10;7
        Reveal that Dorsey did not call her as often as she claims and that, in many instances, she
         initiated the allegedly unwanted calls from Dorsey, Mot. 15–16; and
        Confirm that she carefully crafted allegations regarding purported comparators because she
         knows neither was similarly situated to her with respect to tenure or position, Mot. 11 n.10.

To be clear, the Court does not need to consider these documents to resolve the motion in

Defendants’ favor. See Mot. 1, 16. Just as with Sousa’s prior pleadings, the SAC’s allegations alone

are insufficient to withstand scrutiny under Rule 12(b)(6).

         But the Court certainly may consider these documents in assessing Sousa’s pleading because

they are integral to her claims. Sousa claims that she was harassed and discriminated against through


 6
     Sousa’s argument that Amazon “transferred her” under the same circumstances in 2020 is
     false. As Sousa’s own allegations show, in 2020 Sousa had resigned her employment and was
     then reinstated to an open position at another facility. SAC ¶¶ 43–45. Here, in stark contrast,
     Sousa had not resigned but instead was on medically recommended leave. Id. ¶¶ 177, 185–
     86, 191, 212; Opp. 6. Requiring employees on medical leave to return to work, with their
     doctor’s permission, before taking further action is commonplace.
 7
     Across 35 pages of messages in October 2020, Sousa can point to just two messages where
     Dorsey did not respond until the next day. Opp. 20 n.9.


                                                   9
Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 14 of 15 PageID #: 831




a “barrage” of unsolicited, lengthy phone calls and inappropriate text messages. SAC ¶ 8. And as

her own opposition details, see Opp. 9–10, she explicitly refers to and quotes from them throughout

her complaint. E.g., SAC ¶¶ 50, 76, 103, 119, 120, 124, 170, 171, 184, 185, 195, 198. This

incorporates them by reference. See, e.g., Harris v. N.Y. State Comptroller, 2022 WL 814289, at

*14 (S.D.N.Y. Mar. 17, 2022) (text messages incorporated by reference where plaintiff quoted

from them and “the alleged contents of those messages form[ed] the basis of Plaintiff’s claims”

“for hostile work environment and retaliation”); Kaplan v. Wings of Hope Residence, Inc., 2020

WL 616630, at *4 (E.D.N.Y. Feb. 7, 2020) (text messages incorporated by reference); Hudson v.

Ralph Lauren Corp., 385 F. Supp. 3d 639, 640 n.1 (N.D. Ill. 2019) (same).8 Moreover, Sousa

explicitly relies on these same messages in advancing her retaliation claim. SAC ¶¶ 197–205;

Lopez-Serrano v. Rockmore, 132 F. Supp. 3d 390, 400 (E.D.N.Y. 2015) (“clearly incomplete” text

messages incorporated by reference because they “underpin[ned]” and “form[ed] the basis of”

plaintiff’s retaliation and willfulness claims).

        Critically, Sousa does not contest these documents’ authenticity. City of Pittsburgh v. W.

Penn Power Co., 147 F.3d 256, 259 (3d Cir. 1998). And, while she vaguely argues that these

records may be “incomplete,” that is irrelevant because (1) they are still authentic versions of the

documents actually referenced in the SAC and (2) to the extent they are “cherry-picked,” Opp. 3,

that was Sousa’s doing, because these are the records she submitted to Amazon. D.I. 36 ¶¶ 3–7.

                                       II.     CONCLUSION

        Defendants respectfully request that Sousa’s claims be dismissed with prejudice.




 8
     Sousa’s cases regarding a “‘mere passing reference’” to documents, Opp. 8–9, are irrelevant
     because her claims are premised on (and do not “merely reference”) these documents.


                                                   10
Case 1:21-cv-00717-SB Document 40 Filed 04/11/22 Page 15 of 15 PageID #: 832




 Dated: April 11, 2022       By: /s/ Beth Moskow-Schnoll
                                Beth Moskow-Schnoll (No. 2900)
                                Juliana van Hoeven (No. 6498)
                                BALLARD SPAHR LLP
                                919 N. Market Street, 11th Floor
                                Wilmington, DE 19801-3034
                                Tel.: 302-252-4465
                                Email: moskowb@ballardspahr.com
                                        vanhoevenj@ballardspahr.com

                                Jason C. Schwartz (pro hac vice)
                                GIBSON, DUNN & CRUTCHER LLP
                                1050 Connecticut Avenue, N.W.
                                Washington, DC 20036-5306
                                Tel.: 202-955-8242
                                Email: JSchwartz@gibsondunn.com

                                Jessica Brown (pro hac vice)
                                Hannah Regan-Smith (pro hac vice)
                                GIBSON, DUNN & CRUTCHER LLP
                                1801 California Street, Ste. 4200
                                Denver, CO 80202-2642
                                Tel.: 303-298-5700
                                Email: JBrown@gibsondunn.com
                                        HRegan-Smith@gibsondunn.com

                                Attorneys for Defendants Amazon.com, Inc.,
                                Amazon Service LLC, and Lawrence Dorsey




                                     11
